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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION




MED-CERT HOME CARE, LLC,                    )
                                            )
             Plaintiff,                     )
                                            )            CIVIL ACTION NO.
VS.                                         )
                                            )            3:18-CV-2372-G
ALEX M. AZAR, II, ET AL.,                   )
                                            )
             Defendants.                    )




                    MEMORANDUM OPINION AND ORDER

      Before the court is the plaintiff’s motion for a preliminary injunction (docket

entries 6, 26). For the reasons stated below, the motion is granted.

                                I. INTRODUCTION

      This is a dispute between a recipient of Medicare payments and the

government entity in charge of distributing Medicare payments and reviewing the

claims of recipients who have received Medicare payments. Some background is

necessary to explain the motion currently before the court. On September 7, 2018,

the plaintiff Med-Cert Home Care, L.L.C. (“Med-Cert”) filed its complaint. See

Complaint (docket entry 1). Three days later, on September 10, Med-Cert filed an
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emergency motion for a temporary restraining order, in which Med-Cert sought to

enjoin the defendants Alex M. Azar, II, Secretary of the United States Department of

Health and Human Services, and Seema Verma, Administrator for the Centers for

Medicare and Medicaid Services (“CMS”), from withholding reimbursement of Med-

Cert’s Medicare claims. Emergency Motion for Temporary Restraining Order at 1-3

(docket entry 6). The court held a hearing on Med-Cert’s motion for temporary

restraining order on September 19, 2018. Order Regarding Emergency Motion for

Temporary Restraining Order (docket entry 9); Electronic Minute Entry for Motion

Hearing (docket entry 14).

      On the same date, the court issued two orders. First, the court issued an order

denying Med-Cert’s motion for a temporary restraining order. Order Denying

Motion for Temporary Restraining Order (docket entry 15). Second, the court

issued an order setting a briefing schedule on plaintiff’s motion for a preliminary

injunction. Order (docket entry 13). Both parties have submitted their proposed

findings of fact and conclusions of law; Med-Cert’s motion for preliminary injunction

is thus ripe for decision. See Plaintiff’s Proposed Findings of Fact and Conclusions of

Law (“Findings”) (docket entry 18); Response (docket entry 19); Reply (docket entry

25). In accordance with Federal Rule of Civil Procedure 52, the court sets forth its

findings of fact and conclusions of law below.




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                               II. FINDINGS OF FACT

      Med-Cert has operated as a licensed Medicare certified agency since 2011 with

no condition level deficiency.1 Appendix to Defendants’ Proposed Findings of Fact

and Conclusions of Law, Declaration of Jacquelyn W. Smith (“Smith Declaration”)

at 9-10 ¶¶ 5, 7 (docket entry 20).

      Med-Cert furnishes unique services to an aging population from South East

Asia who have special needs because of language and cultural differences in addition

to exposure to Agent Orange. Exhibit K of Plaintiff’s Additional Attachments at 3

(docket entry 4).

      On March 2, 2017, a CMS Zone Program Integrity Contractor (“ZPIC”)

completed a post-payment audit of a random sample of Medicare Part A payments to

Med-Cert. Exhibit D of Plaintiff’s Additional Attachments at 7 (docket entry 4).

The ZPIC concluded that Med-Cert was overpaid on 97.8% of the reviewed claims,

as the claims did not meet the necessary Medicare requirements for the type of

services provided. Id. at 9-10. Of the 46 claims reviewed, the ZPIC determined that




      1
               Condition level deficiency, or condition level noncompliance, is a more
serious type of noncompliance with the requirements of an approved Medicare
accrediting organization. Smith Declaration at 9-10 ¶¶ 6-7. These standards are at
least as stringent as the Medicare Conditions of Participation. Id. at 9-10 ¶ 6. If an
accrediting organization finds a condition level deficiency, it must report the issue to
CMS. Id. at 10 ¶ 7. No such deficiency by Med-Cert was reported to CMS for any
of the three evaluation surveys completed of Med-Cert by its accrediting
organization. Id.

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45 claims failed to fully meet the requirement for face-to-face physician evaluation of

the patient to confirm homebound status and need for skilled nursing services. Id.

The ZPIC also found that some claims failed to provide physician orders for the

services or to provide appropriate documentation to support the services billed. Id.

The overpayment rate for the audited claims was extrapolated to all Med-Cert

Medicare claims with process dates between February 5, 2015 and September 3,

2016, resulting in an extrapolated overpayment of $1,787,063.39. Id. at 3-4.

      Med-Cert appealed the ZPIC’s overpayment determination to the first level of

the Medicare administrative appeals process, 42 C.F.R. § 405.904(a)(2), requesting a

redetermination from the Medicare Administrative Contractor (“MAC”) on April 26,

2017. Exhibit F of Plaintiff’s Additional Attachments at 1 (docket entry 4). For the

redetermination, Med-Cert submitted 12,824 pages of clinical files. Id. at 1-2. Med-

Cert also submitted an expert opinion and curriculum vitae for Dr. Carlton Smith, an

outside physician who reviewed Med-Cert’s claims; the curriculum vitae of the Med-

Cert Administrator and Director of Nursing; a 2014 letter from the CMS

Administrator regarding a draft report from the Health and Human Services’

(“HHS”) Office of Inspector General on home health providers’ compliance with

documentation requirements for Medicare claims; a Wikipedia article on the effects

of Agent Orange; and several certifications and awards received by Med-Cert for

quality services. Id. at 10-46. After conducting a new and independent review of the



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claims at issue, on June 28, 2017 the MAC notified Med-Cert that it had completed

the redetermination, which upheld the ZPIC’s overpayment determination. Exhibit

G of Plaintiff’s Additional Attachments at 1 (docket entry 4).

      On August 15, 2017, Med-Cert appealed the MAC’s decision, submitting a

request for reconsideration from a Qualified Independent Contractor (“QIC”)—a

separate CMS contractor— in accordance with 42 C.F.R. § 405.904(a)(2). Exhibit H

of Plaintiff’s Additional Attachments at 1-6 (docket entry 4). On November 9, 2017,

the QIC issued the reconsideration, again upholding the original overpayment

determination. Exhibit J of Plaintiff’s Additional Attachments at 1-48 (docket entry

4). As part of its review, the QIC evaluated Med-Cert’s extensive case file, including

the patient clinical files, Med-Cert’s expert report, a nurse summary from Med-Cert’s

Administrator and Director of Nursing, documentation from both the MAC and

ZPIC, and extrapolations/statistical sampling documentation. Id. at 3-4.

      In its letter notifying Med-Cert of the decision, the QIC informed Med-Cert

that it had the right to appeal the determination to an Administrative Law Judge

(“ALJ”). Id. at 1. The letter also stated that “recoupment [of the overpayment] will

begin 31 days from the date of this letter in the absence of an acceptable request for

an extended repayment schedule.” Id.




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      On December 28, 2017 Med-Cert timely filed its ALJ appeal. Exhibit K of

Plaintiff’s Additional Documents at 1-22 (docket entry 4). As part of its appeal,

Med-Cert included the same documents it had previously submitted to the MAC and

QIC as part of its requests for redetermination and reconsideration. Id. at 22. Med-

Cert did not submit any new documentary evidence and its arguments in the appeal

addressed Med-Cert’s concerns that the prior reviews did not properly evaluate the

documentation in the clinical files, which it had previously submitted in the case

record. Id. at 1-22. Med-Cert’s appeal identified only one testifying expert witness,

Dr. Carlton Smith, whose written opinion was submitted to the MAC as part of the

request for redetermination, and whose detailed comments were provided as part of

each of Med-Cert’s three appeals requests. Exhibit F of Plaintiff’s Additional

Documents at 3-4; 14-23; Exhibit H of Plaintiff’s Additional Documents at 1-2;

Exhibit K of Plaintiff’s Additional Documents at 12-18. Dr. Carlton Smith’s expert

opinion was specifically considered by the QIC as part of the reconsideration. Exhibit

J of Plaintiff’s Additional Documents at 1-48 (docket entry 4).

      Within 90 days of filing an appeal to the ALJ, 42 U.S.C. § 1395ff(d)(1)(A)

requires the ALJ to hold a hearing and issue a decision on the appellant’s claim.

Currently, there is a delay at the ALJ Medicare administrative level. Courts within

this circuit have found it may take three to five years for a Medicare appeal pending

before an ALJ to be heard. Family Rehabilitation, Inc. v. Azar, No. 3:17-CV-3008,



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2018 WL 3155911, at *6 (N.D. Tex. June 28, 2018) (Kinkeade, J.) More recent

statistics from the Office of Medicare Hearings and Appeals (“OMHA”) show that

the average processing time for appeals filed in the first quarter of fiscal year

2018—when Med-Cert filed its request for an ALJ hearing—is 1,214 days, or 3.3

years. Appendix to Defendants’ Proposed Findings of Fact and Conclusions of Law,

Declaration of Norris Cochran, Exhibit 1 at 7 (docket entry 20). As of June 30,

2018, the average wait time for a decision to be reached at the ALJ level is 1,142

days. Appendix to Defendants’ Proposed Findings of Fact and Conclusions of Law,

Declaration of Norris Cochran at 4 ¶ 5. Furthermore, the United States District

Court for the District of Columbia recently entered a mandamus order on

November 1, 2018, requiring the government to reduce the backlog of appeals by the

end of fiscal year 2022. American Hospital Association v. Azar, No. 14-851-JEB, 2018

WL 5723141, at *3-*4 (D. D.C. Nov. 1, 2018).

       Additionally, Congress anticipated that ALJ hearings and decisions might not

always occur within 90 days, and thus wrote into the statute an option by which a

provider may escalate its appeal past the ALJ review stage to the fourth level of the

administrative appeals process—the Medicare Appeals Council—ensuring that the

appeal is not held up pending the ALJ decision. 42 U.S.C. § 1395ff(d)(3)(A); accord

42 C.F.R. § 405.1016. Upon escalation, the Council may hold any additional

proceedings, including a hearing, which it deems necessary to issue a decision on the



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appeal. 42 C.F.R. § 405.1108(d)(2). The Council must render a decision or remand

the case within 180 days of a timely review request. 42 C.F.R. § 405.1100(d). If the

Medicare Appeals Council does not render a timely decision, the appealing party may

seek judicial review in federal district court. 42 U.S.C. § 1395ff(d)(3)(B).

        Since Med-Cert filed its ALJ appeal, no appeal decision, hearing, or notice of

the same has occurred. Complaint at 17 ¶ 59 (docket entry 1).

        Med-Cert derives the vast majority of its net revenue (90% plus) from

services provided to Medicare beneficiaries and paid for by the federal Medicare

program. Affidavit of Mathew John at 2 ¶ 4 (docket entry 18). If CMS allowed to

recoup Med-Cert’s Medicare payments during the two-to-four-year pendency of Med-

Cert’s ALJ appeal, Med-Cert will not have the income to sustain itself. Id. at 2 ¶¶ 5,

8.

        Before the recoupment, Med-Cert employed 18 staff members. Affidavit of

Mathew John at 3 ¶ 9. Currently Med-Cert employs two staff members. Id. If CMS

is allowed to continue with recoupment Med-Cert will have to terminate the

employment of its remaining two employees. Id.

        Med-Cert cannot pay the approximate $33,000.00 per month that a CMS

payment plan would arrange. Affidavit of Mathew John at 3-4 ¶ 15 (docket entry

18); Transcript of Motion for Temporary Restraining Order Before the Honorable A.

Joe Fish (“Transcript”) at 4:7-4:18.



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       The outcome of Med-Cert’s appeal before the ALJ is unclear. Med-Cert alleges

that it has more than a substantial likelihood of success on its ALJ appeal because it

“did everything correctly, per CMS guidelines.” Reply at 6 ¶ 10. Nevertheless,

statistics from the OMHA show that of the appeals decided in the first three quarters

of Fiscal Year 2018 only 17.2% were fully favorable to the appealing party, whereas

1% were partially favorable, 20.5% were unfavorable to the appealing party, and

61.3% of the appeals were dismissed. Appendix to Defendants’ Proposed Findings of

Fact and Conclusions of Law, Declaration of Jason M. Green at 13 ¶ 5 (docket entry

20).

       If Med-Cert does not keep at least one patient on service during the pendency

of the ALJ appeal, Med-Cert will lose its Medicare provider number. Affidavit of

Susan Mathew at 4 ¶ 8.

                             III. CONCLUSIONS OF LAW

       Med-Cert seeks to enjoin the defendants from recouping overpayments

allegedly made to Med-Cert by withholding reimbursement of Med-Cert’s current

and future Medicare claims. See Plaintiff’s Proposed Findings of Fact and

Conclusions of Law. “The purpose of a preliminary injunction is to preserve the

status quo and thus prevent irreparable harm until the respective rights of the parties

can be ascertained during a trial on the merits.” Exhibitors Poster Exchange, Inc. v.

National Screen Service Corp., 441 F.2d 560, 561 (5th Cir. 1971). The decision to



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grant or deny preliminary injunctive relief is left to the sound discretion of the

district court. Mississippi Power & Light Company v. United Gas Pipe Line Company, 760

F.2d 618, 621 (5th Cir. 1985). To obtain a preliminary injunction, a plaintiff must

show the following: (1) there is a substantial likelihood of success on the merits; (2)

there is a substantial threat that the plaintiff will suffer irreparable injury if the

injunction is denied; (3) the threatened injury outweighs any damage that the

injunction might cause the defendant; and (4) granting the injunction will not

disserve the public interest. Sugar Busters LLC v. Brennan, 177 F.3d 258, 265 (5th

Cir. 1999).

       “None of the four requirements has a fixed quantitative value.” Family

Rehabilitation, Inc., 2018 WL 3155911, at *3 (quoting Monumental Task Committee, Inc.

v. Foxx, 157 F. Supp. 3d 573, 582 (E.D. La. 2016)). “Therefore, in applying the four

part test, ‘a sliding scale is utilized, which takes into account the intensity of each in

a given calculus.’” Id. (quoting DeFranceschi v. Seterus, Inc., No. 4:15-CV-870-O, 2016

WL 6496323, at *2 (N.D. Tex. Aug. 2, 2016) (O’Connor, J.)). “This requires ‘a

delicate balancing of the probabilities of ultimate success at final hearing with the

consequences of immediate irreparable injury that possibly could flow from the denial

of preliminary relief.’” Id. (quoting Monumental Task Committee, Inc., 157 F. Supp. 3d

at 582). “When the other factors weigh strongly in favor of an injunction, ‘a showing

of some likelihood of success on the merits will justify temporary injunctive relief.’”



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DeFranceschi, 2016 WL 6496323, at *2 (quoting Monumental Task Committee, Inc., 157

F. Supp. 3d at 585).

                               A. Likelihood of Success

      When determining the likelihood of success on the merits, the court looks to

the standards of the substantive law. See Roho, Inc. v. Marquis, 902 F.2d 356, 358

(5th Cir. 1990). To obtain an injunction, the movant’s likelihood of success must be

more than negligible, Compact Van Equipment Company, Inc. v. Leggett & Platt, Inc., 566

F. 2d 952, 954 (5th Cir. 1978), and the preliminary injunction should not be granted

unless the question presented by the litigant is free from doubt. Congress of Racial

Equality v. Douglas, 318 F.2d 95, 97 (5th Cir.), cert. denied, 375 U.S. 829 (1963).

      As noted above, Med-Cert seeks to enjoin the defendants from recouping

overpayments allegedly made to Med-Cert by withholding reimbursement of Med-

Cert’s current and future Medicare claims. Based on Med-Cert’s Proposed Findings

of Fact and Conclusions of Law, this court surmises that Med-Cert bases its motion

for preliminary injunction on its procedural due process claim.2 “Procedural due


      2
              In its original complaint, Med-Cert asserted four claims: (1) a
procedural due process claim; (2) an ultra vires claim; (3) a claim brought under
Section 704 of the Administrative Procedure Act; and (4) a claim for mandamus
relief. See Complaint at 22-26. Med-Cert did not discuss the likelihood of success it
would have before this court on each claim in its Proposed Findings of Fact and
Conclusions of Law, however. See Plaintiff’s Proposed Findings of Fact and
Conclusions of Law. Rather, Med-Cert mentioned only two of its claims—the
procedural due process claim and the ultra vires claim. Id. at 6 ¶ 16. And, of these
                                                                          (continued...)

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process protects against governmental deprivation of a liberty or property interest.”

Family Rehabilitation, Inc., 2018 WL 3155911 at *4 (citing Matthews v. Eldridge, 424

U.S. 319, 332 (1976)). When analyzing whether a party’s procedural due process

rights have been violated, courts weigh three factors:

              First, the private interest that will be affected by the
              official action; second, the risk of an erroneous deprivation
              of such interest through the procedures used, and the
              probable value, if any, of additional or substitute
              procedural safeguards; and finally, the Government’s
              interest, including the function involved and the fiscal
              administrative burdens that the additional or substitute
              procedural requirement would entail.


Eldridge, 424 U.S. at 335. Furthermore, because Med-Cert seeks to prevent

recoupment until the ALJ hearing takes place, as the Fifth Circuit recently explained,

to show a likelihood of success on the merits “would require showing that [this]

procedure[] [is] required before recoupment—rather than showing that the outcome

of [the] procedure[] will likely be favorable in a specific case.” Family Rehabilitation,

Inc. v. Azar, 886 F.3d 496, 504 n. 14 (5th Cir. 2018) (citing Eldridge, 424 U.S. at

335).


        2
        (...continued)
two claims, Med-Cert only indicated that it would likely be successful before this
court on its procedural due process claim. Id. at 7-8, 11-12. Accordingly, the court
finds that Med-Cert did not carry its burden of persuasion with respect to its ultra
vires claim, its Administrative Procedure Act claim, and its claim for mandamus relief.
Therefore, the court will neither discuss Med-Cert’s likelihood of success on these
claims nor consider them to be a basis for Med-Cert’s motion for injunctive relief.

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      Here, Med-Cert does not argue that the statutory appeals process does not

provide adequate due process. See generally Plaintiff’s Proposed Findings of Facts and

Conclusions of Law. Instead Med-Cert alleges that its procedural due process has

been violated by CMS’ failure to comply with the statutorily mandated procedure to

hold an ALJ hearing within 90 days of filing. Id. at 7-8. Specifically, Med-Cert

asserts that it has a property interest in Medicare payments for services rendered,

which are now being withheld by CMS to recoup Med-Cert’s alleged overpayment.

Id. at 8 ¶ 20. Med-Cert further argues that there is a high risk of an erroneous

deprivation of Med-Cert’s property interest under the current appeals process since,

due to the backlog of Medicare appeals before ALJs, Med-Cert will go out of business

before receiving the procedural due process statutorily provided by way of an ALJ

appeal. Id. Finally, Med-Cert asserts that the escalation process through which Med-

Cert can escalate its appeal to the Medicare Appeals Council—or even possibly a

federal district court—is inadequate and fails to provide appropriate procedural due

process. Id. at 8 ¶ 21.

      In response, the defendants argue that Med-Cert has no valid property interest

at risk of erroneous deprivation because Med-Cert cannot claim a property interest in

the recoupment of an overpayment determination. Response at 18 ¶ 20. The

defendants also assert that even if Med-Cert possesses a valid property interest, Med-

Cert “faces a low risk of erroneous deprivation of this property interest, as it can



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escalate its appeal and receive the protections of Article III review.” Id. at 20 ¶ 20.

The defendants argue that escalation provides adequate procedural due process for a

number of reasons. First, the defendants assert that the Medicare Appeals Council

may conduct a hearing if necessary. Id. at 16 ¶ 18. Additionally, the defendants

assert that escalation will provide adequate procedural due process since the

Medicare Appeals Council’s review will be based on the existing record presented to

the QIC, which is the same record used by the ALJ. Id. at 20 ¶ 21. Moreover, the

defendants argue, Med-Cert has failed to submit sufficient information to

substantiate its claim that it will go out of business before the ALJ hears its appeal.

Id. at 19 ¶ 20.

       Following the framework laid out in Eldridge and Family Rehabilitation, Inc., this

court must first determine whether Med-Cert has a valid “private interest that will be

affected by the official action.” Eldridge, 424 U.S. at 335. As mentioned above, the

defendants allege that Med-Cert has no valid property interest because Med-Cert

cannot claim an interest in retaining Medicare overpayments. Response at 18-20

¶ 20. Although the court agrees with the defendants’ argument that precedent

establishes that a healthcare provider cannot claim a property interest in Medicare

payments to which it is not entitled, see e.g. Smith v. North Louisiana Medical Review

Association, 735 F.2d 168, 173 (5th Cir. 1984); Sahara Health Care, Inc. v. Azar, No.

7:18-CV-203, 2018 WL 6073564, at *13 (S.D. Tex. Nov. 1, 2018), the court



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disagrees with the defendants’ characterization of Med-Cert’s claimed property

interest.

       Here, Med-Cert does not claim a property interest in the alleged

overpayments. Med-Cert claims an interest in the Medicare payments for properly

billed claims that are now being recouped by the government. Precedent makes clear

that Med-Cert has a valid property interest in receiving Medicare payments for

services rendered. 3 See Adams EMS, Inc. v. Azar, No. H-18-1443, 2018 WL

5264244, at *10 (S.D. Tex. Oct. 23, 2018) (finding that the plaintiff, a healthcare

provider whose Medicare payments for services rendered were being withheld as

recoupment for alleged overpayments, had “a property interest in receiving and

retaining the Medicare payments it has earned.”); Family Rehabilitation, Inc., 2018 WL

3155911 at *4 (concluding that the plaintiff, a Medicare-certified home health

agency whose Medicare payments were being withheld as recoupment for alleged

overpayments, had “a property interest in the Medicare payments for services


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               This court recognizes that the court in Sahara Health Care, Inc. viewed
the fact that the plaintiff was being deprived of payments properly billed as the
plaintiff “returning monies to which it was never entitled.” Sahara Health Care, Inc.,
2018 WL 6073564 at *17. This court does not take the same view. Although the
government may recoup overpayments from a health provider’s Medicare payments,
42 C.F.R. § 405.371(a), because Med-Cert’s appeal of the overpayment
determination is not final, this court cannot definitely state that withholding Med-
Cert’s payments for properly billed claims is the same as Med-Cert returning money
to which it was “never entitled.” Med-Cert may prevail on its appeal, thereby
entitling Med-Cert to the funds recouped with interest. 42 U.S.C.
§ 1395ddd(f)(2)(B).

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rendered.”); see also Infinity Healthcare Services, Inc. v. Azar, No. H-18-1626, 2018 WL

6072651, at *6 (S.D. Tex. Nov. 19, 2018) (concluding that the plaintiff, a provider

of home health services, had a property interest in the Medicare payments for

services rendered).

       Having found Med-Cert has a property interest, the court must move to the

second Eldridge factor and determine whether there is a high risk of an erroneous

deprivation of Med-Cert’s property interest due to the backlog of cases before the

ALJs. See Eldridge, 424 U.S. at 335. The court finds Judge Kinkeade’s opinion in

Family Rehabilitation, Inc. particularly enlightening on this issue.

       In Family Rehabilitation, Inc. the plaintiff, a home health provider, brought suit

against CMS seeking to enjoin the government from recouping its Medicare

payments until the plaintiff received an ALJ hearing. Family Rehabilitation Inc., 2018

WL 3155911 at *1. According to the plaintiff’s filings, the plaintiff relied on

Medicare reimbursements for approximately 94% of its revenue stream. Id. at *5.

Furthermore, after recoupment of the plaintiff’s alleged overpayments began, the

plaintiff had to lay off 89% of its staff and terminate the healthcare services for a

majority of its patients in order to subsist off a small fraction of its usual revenue. Id.

at *3, *5.

       After laying out these facts, Judge Kinkeade observed that while “[a]

healthcare agency may be able to float its expenses and survive for the statutorily



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imposed 90-day period for an ALJ to hear and decide the appeal even while its alleged

overpayments are in recoupment . . . . it is unreasonable to expect a healthcare agency

to scrape by for three to five years waiting for a hearing and decision while CMS

recoups the alleged overpayments.” Id. at *5. Moreover, Judge Kinkeade determined

that “[w]hile the statute allows CMS to begin recouping the alleged overpayments

before the ALJ renders a decision, Congress likely did not anticipate that decision

being delayed much longer than the statutorily prescribed 90 days and certainly not a

delay of three to five years.” Id. Ultimately, based on these facts, Judge Kinkeade

found that allowing recoupment to continue during the pendency of the plaintiff’s

ALJ hearing “effectively forces [the plaintiff] to close its business without providing

the statutorily mandated procedural due process.” Id. Consequently, Judge Kinkeade

concluded, “forcing [the plaintiff] to wait three to five years for a hearing while

overpayments are in recoupment creates a high risk of erroneous deprivation of [the

plaintiff’s] property interest.” Id.

       Here, Med-Cert’s filings demonstrate that Med-Cert is a home health provider

which obtains the vast majority of its revenue from “services provided to Medicare

beneficiaries and paid for by the federal Medicare program.” Affidavit of Mathew

John at 2 ¶ 4. The same filings show that since CMS began recoupment: (1) Med-

Cert’s gross revenue has decreased by over 60%; (2) its net revenue has decreased by

95%; (3) it has had to reduce its staff by approximately 89% (from 18 to 2); and (4)



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that ultimately– if recoupment is to continue during the pendency of Med-Cert’s ALJ

appeal–Med-Cert will be forced to shut down.4 Id. at 2-3. Consequently, this court

concludes, similarly to Judge Kinkeade in Family Rehabilitation, Inc., that forcing Med-

Cert to wait two to four years for a hearing before an ALJ while CMS recoups Med-

Cert’s Medicare payments creates a high risk of erroneous deprivation of Med-Cert’s

property interest.

       The defendants argue that “Med-Cert faces a low risk of erroneous deprivation

of [its] property interest, as it can escalate its appeal and receive the protections of

Article III review.” Response at 20. The court must therefore determine whether




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               The defendants argue that Med-Cert’s claim that it will be forced to
shut down if recoupment continues during the pendency of its appeal is unsupported
by “concrete information to substantiate this allegation.” Response at 19. The court
disagrees. As pointed out in Med-Cert’s reply, Med-Cert’s assertion that it will be
forced to shut down is supported by the affidavit of Med-Cert’s Chief Financial
Officer, Mathew John. Reply at 9 ¶ 15. The sworn statements of a Chief Financial
Officer, “[t]he executive in charge of making a company’s accounting and fiscal
decisions[,]” BLACK’S LAW DICTIONARY 270 (9th ed. 2009), are not tantamount to
unsupported statements. Moreover “[t]he law is well-settled that because the
procedures governing a preliminary injunction are generally less formal than those at
trial, the court may rely upon otherwise inadmissible evidence when considering a
preliminary injunction.” ADT, LLC v. Capital Connect, Inc., 145 F. Supp. 3d 671, 682
(N.D. Tex. 2015) (Fish, Senior J.) (citing University of Texas v. Camenisch, 451 U.S.
390, 395 (1981)). In fact, “at the preliminary injunction stage, a district court may
rely on affidavits and hearsay materials which would not be admissible evidence for a
permanent injunction, if the evidence ‘is appropriate given the character and
objectives of the injunctive proceeding.’” Id. (quoting Levi Strauss & Co. v. Sunrise
International Trading Inc., 51 F.3d 982, 985 (11th Cir. 1985)). Here, the court finds
Med-Cert’s affidavits appropriate, given Mathew John’s position as Med-Cert’s Chief
Financial Officer.

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escalation provides Med-Cert sufficient procedural due process for the defendants to

begin recoupment of Med-Cert’s alleged overpayments before an ALJ decides Med-

Cert’s appeal. Accordingly, a review of the appeals process is necessary.

      As noted by the Fifth Circuit, to appeal an overpayment determination a

provider must go through a four-level appeals process:

             First, it may submit to the MAC [Medicare Administrative
             Contractor] a claim for redetermination of the
             overpayment. 42 U.S.C. § 1395ff(a)(3)(A). Second, it may
             ask for reconsideration from a Qualified Independent
             Contractor (“QIC”) hired by CMS for that purpose. Id.
             § 1395ff(c), (g); 42 C.F.R. § 405.904(a)(2). If the QIC
             affirms the MAC’s determination, the MAC may begin
             recouping the overpayment by garnishing future
             reimbursements otherwise due to the provider. 42 U.S.C.
             § 1395ddd(f)(2); 42 C.F.R. § 405.371(a)(3). Third, the
             provider may request de novo review before an ALJ within
             the Office of Medicare Hearings and Appeals (OMHA), an
             agency independent of CMS. 42 U.S.C. § 1395ff(d); 42
             C.F.R. § 405.1000(d). The ALJ stage presents the
             opportunity to have a live hearing, present testimony,
             cross-examine witnesses, and submit written statements of
             law and fact. 42 C.F.R. § 405.1036(c)-(d). The ALJ “shall
             conduct and conclude a hearing . . . and render a decision .
             . . not later than” 90 days after a timely request. 42
             U.S.C. § 1395ff(d)(1)(A). Fourth, the provider may
             appeal to the Medicare Appeals Council (“Council”), an
             organization independent of both CMS and OMHA. 42
             C.F.R. § 405.1100. The Council reviews the ALJ’s decision
             de novo and is similarly required to issue a final decision
             within 90 days. Id. Furthermore, if the ALJ fails to issue a
             decision within 90 days, the provider may “escalate” the
             appeal to the Council, which will review the QIC’s
             reconsideration. Id.




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Family Rehabilitation, Inc., 886 F.3d at 499-500. In addition, after going through all

levels of the appeal process, “if a party is still dissatisfied, the party may request

judicial review in a federal district court.” Family Rehabilitation, Inc., 2018 WL

3155911 at *2.

       Upon reviewing the appeals process, it is clear to the court that escalation fails

to provide adequate procedural due process, as it “does not adequately protect the

procedural safeguards the statute provides the appealing party.” Adams EMS, Inc.,

2018 WL 5264244, at *10. First, as pointed out by the Fifth Circuit, the ALJ

hearing presents appellants like Med-Cert with the opportunity to have a live

hearing, present testimony, submit written statements of law and fact, and cross-

examine witnesses. Family Rehabilitation, Inc., 886 F.3d at 499; 42 U.S.C.

§ 1395ff(d)(1)(A) (“an administrative law judge shall conduct and conclude a hearing

on a decision of a qualified independent contractor . . . .”). “By contrast, when a

party escalates their claim to the Medicare Appeals Council, the Council may, but is

not required to, conduct additional proceedings, including a hearing.” Adams EMS,

Inc., 2018 WL 5264244, at *10. In fact, [“t]he Council may instead issue a decision

based on the record without supplementation, remand the case to the administrative

law judge, or dismiss the request.” Id. Because escalation would not guarantee Med-

Cert a hearing with the opportunity to cross examine witnesses, the court finds that

escalation does not provide the same procedural safeguards offered by an ALJ appeal.



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See Adams EMS Inc., 2018 WL 5264244, at *10 (concluding the same); Family

Rehabilitation, Inc., 2018 WL 3155911 at *5 (concluding that “Escalation does not

provide a remedy to the backlogged ALJs because it does not provide adequate

procedural due process”).

      The defendants contend that a live hearing before an ALJ does not provide

much additional protection to appellants like Med-Cert because a hearing will not

result in a substantial change in the record on review before the ALJ. Response at 20

¶ 21. While it is true that here Med-Cert does not seek to add documents to the

evidentiary record, Reply at 12, and that at an ALJ hearing no new written evidence

may be presented without good cause if the evidence was not previously submitted

for consideration by the QIC, 42 C.F.R. §§ 405.1018, 405.1028, the court does not

agree with defendants’ claim. As stated above, at an ALJ hearing Med-Cert will be

given the opportunity to cross-examine the witness—an opportunity not guaranteed

by escalation. It should come as no surprise that cross-examination may help develop

a record before a court. See e.g., Geders v. United States, 425 U.S. 80, 89-90 (1976)

(“Skillful cross-examination could develop a record . . . .). Accordingly, the court

cannot agree with the defendants’ claim that an ALJ hearing offers no additional

protection because a hearing will not result in a substantial change in the record.

      Nor can the court agree with the defendants’ contention that escalation of

Med-Cert’s appeal to a district court will provide Med-Cert with sufficient procedural



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due process to mitigate the risk of erroneous deprivation of Med-Cert’s property.

First, even if Med-Cert escalates its claim from the ALJ level to the Council, there is

no guarantee that Med-Cert will be able to escalate its appeal to a district court. For

Med-Cert to escalate its appeal to a district court, it must be the case that the

Council has not completed its review of the ALJ’s or QIC’s decision within the

applicable adjudication period. 42 C.F.R. § 405.1136(a)(1). Second, the standard of

review exercised by a district court on appeal would be different than that of an ALJ.

The ALJ must exercise de novo review. 42 C.F.R. § 405.1000(d). In contrast, a

district court’s review of a QIC’s decision is more deferential. See Superior Home

Health Services, LLC v. Azar, No. 5:15-CV-000636-RCL, 2018 WL 3717121, at *3

(W.D. Tex. Aug. 3, 2018) (applying the Administrative Procedure Act’s arbitrary and

capricious standard, which is generally deferential to administrative proceedings,

when reviewing the Council’s overpayment determination); American Hospital

Association v. Burwell, 812 F.3d 183, 191 (D.C. Cir. 2016) (concluding that a district

court’s review of a QIC’s overpayment determination would be more deferential than

an ALJ’s de novo review, based on government’s admission that district court review

would be deferential). For these reasons, the court does not believe that escalation of

Med-Cert’s appeal to a district court would provide Med-Cert with sufficient

procedural due process.




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      Since the court has concluded that Med-Cert has a property interest, and that

there is a high risk of erroneous deprivation of this interest, the court must now

consider the third Eldridge factor. Here, the court finds that the defendants’ interest

in recouping Med-Cert’s alleged overpayments will not be adversely affected by

delaying the recoupment until after the ALJ’s determination because the defendants

will still be able to recoup the overpayment amount if the ALJ determination is in

their favor. The defendants argue that if recoupment is delayed until after the ALJ’s

determination, it is likely that Med-Cert will declare bankruptcy and not pay the

alleged overpayments. Response at 11. As Med-Cert pointed out at the hearing on

its motion for temporary restraining order, Medicare recoupments are not

dischargeable in bankruptcy. Transcript at 5:4-5:6; see also In re Fischbach, No. 1:12-

cv-00513-JMC, 2013 WL 1194850, at *2 (D. S.C. Mar. 22, 2013) (“The automatic

stay provided for in the Bankruptcy Code does not apply to recoupment, and

recoupment is not prohibited by the Bankruptcy Code’s discharge injunction . . . [nor

is it] limited to pre-petition claims and thus may be employed to recover across the

petition date.”) (internal citations and quotations omitted). Even further, as Judge

Kinkeade stated in Family Rehabilitation, Inc., the defendants’ argument “makes a

number of assumptions and does not outweigh [the plaintiff’s] ongoing deprivation

of its property interest without sufficient procedural due process.” Family

Rehabilitation, Inc., 2018 WL 3155911, at *6.



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      Because the court has found that Med-Cert satisfies all three of the Eldridge

factors, it concludes that Med-Cert has established a substantial likelihood of success

on the merits of its procedural due process claim. Therefore, the court finds that the

first preliminary injunction factor weighs in favor of granting injunctive relief.

                                  B. Irreparable Injury

      “An irreparable injury is one that cannot be remedied by an award of economic

damages.” Bennigan’s Franchising Co., L.P. v. Swigonski, No. 3:06-CV-2300-G, 2007

WL 603370, at *4 (N.D. Tex. 2007) (Fish, Chief Judge) (quoting Deerfield Medical

Center v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981)). To establish

irreparable injury, the movant must establish “a significant threat of injury from the

impending action, that the injury is imminent, and that money damages would not

fully repair the harm.” Family Rehabilitation, Inc., 2018 WL 3155911 at *6 (quoting

Humana, Inc. v. Jacobson, 804 F.2d 1390, 1394 (5th Cir. 1986)). “In the Medicare

withholding context, going out of business can be sufficient evidence of irreparable

injury.” Id. (quoting MaxMed Healthcare, Inc. v. Burwell, No SA:14-CV-988-DAE,

2015 WL 1310567, at *3 (W.D. Tex. 2015)); see also Adams EMS, Inc., 2018 WL

5264244 at *10.

      Here, CMS continues to recoup over 1.7 million dollars in alleged

overpayments without Med-Cert receiving the statutorily required ALJ hearing and

overpayment determination. Since CMS began recoupment, Med-Cert has laid off



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16 staff members and its gross revenue has decreased by over 60% while its net

revenue has decreased by 95%. Affidavit of Mathew John at 2-3. Med-Cert will be

forced out of business if recoupment continues in this manner before an ALJ hears

and decides Med-Cert’s appeal.

      In addition, Med-Cert argues that if recoupment continues while its ALJ

appeal is pending, Med-Cert “will lose its Medicare Provider Number along with its

contract with Medicare to be paid for services to Medicare beneficiaries” since it will

be unable to keep a Medicare beneficiary as a patient. Plaintiff’s Proposed Findings

of Fact and Conclusions of Law at 9 ¶ 23. Specifically, Med-Cert maintains that to

keep its Medicare Provider Number it must continue patient services for at least one

patient during the pendency of its appeal, which it cannot do. Id. Med-Cert further

avers that losing its Medicare Provider Number constitutes irreparable injury because

the regional Medicare office in Dallas has issued a freeze on issuing new CMS

provider numbers for home health agencies in Texas, meaning that if Med-Cert loses

its number it will not be able to obtain a new one. Id. at 9 ¶ 25.

      The defendants make multiple arguments as to why Med-Cert will not be

irreparably injured if recoupment continues during the pendency of Med-Cert’s

appeal. First, the defendants allege that Med-Cert has failed to provide sufficient

evidence to establish that it will shut down if recoupment continues while Med-Cert’s

ALJ appeal is pending. Response at 19. As discussed above, the court disagrees. See



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supra n. 4. Med-Cert’s claims are supported by the affidavit of Med-Cert’s Chief

Financial Officer, Mathew John, and are sufficient to support Med-Cert’s claim.

      Second, the defendants maintain that Med-Cert faces no risk of irreparable

injury because if Med-Cert escalated its appeal it could have either resolved the

appeal before the Medicare Appeals Council, or could be in federal district court

litigating the overpayment determination. Response at 22. Escalation does not

establish that Med-Cert has no substantial threat of irreparably injury, however. See

Family Rehabilitation, Inc., 2018 WL 3155911, at *6 (“Neither of these options,

however, establishes that [the plaintiff] has no substantial threat of irreparable

injury.”). As discussed above, escalation deprives Med-Cert of an evidentiary hearing

and offers inadequate procedural due process. Moreover, as Judge Kinkeade noted in

Family Rehabilitation, Inc., “[u]nder [the] [d]efendants’ theory, what is an alternative

appeals process under the statute would instead become a mandatory appeals process,

which was not the intended purpose of escalation.” Id. (citing 42 U.S.C.

§ 1395ff(d)(3)(A)).

      Third, the defendants argue that Med-Cert is not at risk of losing its Medicare

Provider Number. Response at 21-22. Specifically, the defendants maintain that to

keep its Medicare Provider Number Med-Cert only needs to provide services to one

Medicare beneficiary every twelve months pursuant to 42 C.F.R. § 424.540(a)(1).

Id. The defendants claim that Med-Cert can provide services to at least one



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beneficiary before this court decides Med-Cert’s due process claim, thus ensuring that

Med-Cert will not lose its Medicare Provider Number. Moreover, the defendants

allege that even if Med-Cert loses its Medicare Provider Number, it will be unaffected

by the freeze on new Medicare Provider Numbers because Med-Cert will only need

to reactivate their existing provider number, rather than obtain a new number.

Response at 22; Appendix to Defendants’ Proposed Findings of Fact and Conclusions

of Law, Declaration of Alisha Sanders at 2 ¶¶ 4-6 (docket entry 20).

      This court disagrees. If Med-Cert wishes to keep its Medicare Provider

Number, it must continue providing patient services to at least one Medicare

beneficiary every twelve months. 42 C.F.R. § 424.540(a)(1). This means that to

keep its Medicare Provider Number, Med-Cert will have to pay staff to care for

Medicare patients without receiving reimbursement payments from CMS, which

Med-Cert cannot do. Reply at 13; Affidavit of Mathew John at 2. Moreover, the

freeze on new Medicare Provider Numbers will likely affect Med-Cert, because Med-

Cert will not simply be able to reactive their existing provider number as the

defendants argue. If Med-Cert loses its Medicare Provider Number and later seeks to

reactivate its Medicare billing privileges, Med-Cert must maintain a valid Texas

license. 42 C.F.R. § 424.540(b)(3)(I). “For each license period, an agency must

provide services to at least one client to be eligible to renew its license.” 40 TEX.

ADMINISTRATIVE CODE § 97.17(c). Therefore, for Med-Cert to keep its license so



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that it may reactivate its Medicare Provider Number later, Med-Cert will have to pay

staff to care for patients without receiving reimbursement from CMS, which it cannot

do. Reply at 13. Consequently, if recoupment continues during the pendency of

Med-Cert’s ALJ appeal, Med-Cert will be unable to pay staff to provide services for

Medicare beneficiaries, thereby jeopardizing Med-Cert’s business, its Texas license,

and ultimately its Medicare Provider Number.

      Fourth, the defendants aver that Med-Cert will not be irreparably injured if

recoupment continues because Med-Cert can continue to provide services to

Medicare beneficiaries and non-Medicare beneficiaries alike. Response at 22. Again,

the court disagrees. Med-Cert’s primary income is from Medicare reimbursements,

Plaintiff’s Proposed Findings of Fact and Conclusions of Law at 9 ¶ 24, meaning if

the reimbursements are withheld as recoupment, Med-Cert will be unable to afford to

pay employees or provide services to Medicare beneficiaries and non-Medicare

beneficiaries alike. The defendants further maintain that because Med-Cert chose to

structure its business around Medicare beneficiaries, Med-Cert knew it was subject to

post-payment audits and the possibility of recoupment and thus cannot complain

when an overpayment determination is made and recoupment begins. Response at

22-23. Although Med-Cert knew that recoupment was a possibility, Med-Cert did

not know that a future appeal before an ALJ would take years, or that while waiting

for a decision on its appeal Med-Cert would have to close its doors due to



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recoupment. The court finds that the defendants’ argument fails to establish that

Med-Cert has no substantial threat of irreparable injury.

       For the reasons stated above, this court finds that Med-Cert has sufficiently

established a substantial threat of immediate and irreparable harm for which no

adequate remedy at law exists. Consequently, the court finds that the second

preliminary injunction factor weighs in favor of granting injunctive relief.

                   C. The Threatened Injury to Med-Cert Outweighs
                       the Threatened Harm to the Defendants

       In addition to showing a substantial likelihood of success on the merits of its

claim as well as a substantial threat of irreparable injury, to obtain a preliminary

injunction Med-Cert “must show that the injury [it] will suffer if the court denies

injunctive relief is greater than the injury the defendants will suffer if the relief is

granted.” Bennigan’s Franchising Co., L.P., 2007 WL 603370 at *5.

       If the preliminary injunction is not granted, Med-Cert will have to shut its

doors, its remaining employees will lose their jobs, and Med-Cert’s remaining patients

will lose access to a unique home healthcare provider that provides services in the

patient’s specific southeast Asian language or dialect. The defendants allege that

granting the preliminary injunction will cause them greater harm, since an injunction

would disrupt the required administration of the Medicare program and a delay

would increase the odds that they will be unable to recoup Med-Cert’s overpayment.

Response at 11.

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       The court disagrees with the defendants and concludes that they will not be

prejudiced by a delay. While an injunction will delay the government’s ability to

recoup any overpayments, the government will nevertheless be able to recoup the

overpayment amount if the ALJ rules in its favor, especially since, as discussed above,

recoupment is not easily dischargeable in bankruptcy. See Family Rehabilitation, Inc.,

2018 WL 3155911 at *7 (“Whereas, [the] [d]efendants will not suffer harm from

granting the injunctive relief because they will have the opportunity to later recoup

any overpayments if the ALJ reaches a decision in their favor”); Adams Ems, Inc., 2018

WL 5264244 at *11 (“The government is not prejudiced by the delay”).

       For the reasons provided above, the court finds that the potential injury to the

plaintiffs if the injunction is denied outweighs the injury to the defendants if the

injunction is granted. The third preliminary injunction factor therefore weighs in

favor of granting injunctive relief.

                                 D. The Public Interest

       Finally, Med-Cert must show that granting the preliminary injunction will not

disserve the public interest. Med-Cert argues that the public interest would not be

adversely affected by granting the preliminary injunction because the public, and

specifically southeast Asian refugees, would benefit from continued access to Med-

Cert’s services. Plaintiff’s Proposed Findings of Fact and Conclusions of Law at 6




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¶ 14. The defendants allege that granting the injunction would disserve the public

interest by overriding Congress’ statutory scheme allowing recoupment to begin after

the QIC has rendered a decision and by clashing with the United States District

Court for the District of Columbia’s mandamus order to eliminate the ALJ backlog by

the end of fiscal year 2022. Response at 13 ¶ 14. The defendants further allege that

granting the injunction would not serve the public interest because there are

hundreds of other active home health agencies that could serve the public in the

absence of Med-Cert’s services. Id.

      After reviewing both parties’ arguments, the court concludes that granting

injunctive relief here would not disserve the public interest. First, while Congress

allowed recoupment to begin before the ALJ renders a decision, “Congress likely did

not anticipate that decision being delayed much longer than the statutorily

prescribed 90 days and certainly not a delay of [two] to [four] years.” Family

Rehabilitation, Inc., 2018 WL 3155911 at *5. Consequently, the court does not find

that granting injunctive relief would disserve the public interest by conflicting with

Congress’ statutory scheme.

      Second, nothing indicates that granting injunctive relief here would be at odds

with the American Hospital Association court’s mandamus order. There, the court

declined to include as part of its mandamus order the requirements that: (1) the

government reduce the interest charged on funds that it has yet to recoup from



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providers while appeals are pending; (2) providers be allowed to rebill their claims for

six months following the issuance of the mandamus order; and (3) the government

maintain its current programs to fight the backlog. American Hospital Association,

2018 WL 5723141 at *4. The court refused to include these additional requirements

because they would “not necessarily improve delays” and because they were not

directly related to the claim giving rise to the mandamus order. Id. Nothing in the

district court’s opinion signaled that granting injunctive relief in a related case would

cause further delays, and the defendants have not proven that such a result would

occur. Accordingly, this court concludes that granting injunctive relief would not

adversely affect the public interest by clashing with the mandamus order issued in

American Hospital Association.

       Third, although there are other active home health agencies in the Dallas area,

this court concludes that the public interest would be better served if injunctive relief

is granted and Med-Cert stays in business. Unlike most home health agencies, Med-

Cert provides unique services to an aging population from South East Asia who have

special needs because of language and cultural differences in addition to exposure to

Agent Orange. Exhibit K of Plaintiff’s Additional Attachments at 3-4. The

defendants have not shown that the other active home health agencies in the Dallas

area provide similar services to Med-Cert or employ nurses who speak the same

South East Asian languages and dialects as Med-Cert’s patients and employees.



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       For the reasons stated above, the court concludes that the fourth preliminary

injunction factor favors granting injunctive relief.

                                  III. CONCLUSION

       For the reasons stated above, Med-Cert’s motion for preliminary injunction is

GRANTED. Counsel for Med-Cert shall submit, within fourteen days of this date, a

proposed order of preliminary injunction in conformity with this memorandum

opinion and order.

       SO ORDERED.

February 4, 2019.


                                          ___________________________________
                                          A. JOE FISH
                                          Senior United States District Judge




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